     Case 1:17-cr-00057-JBW         Document 79       Filed 12/01/17     Page 1 of 1 PageID #: 374

                                                                                   IN CLERKS OFFICE
                                                                             U.S. tSTRICT COURT E.0J4.Y.
     UNITED STATES DISTRICT COURT                                            * DEC O12O11 *
     EASTERN DISTRICT OF NEW YORK
                 ------ -- - ---- - ---         x                            BROOKLYN OFFICE
     UNITED STATES OF AMERICA

                    V                                                      ORDER
                                                                          CR1 7-0057

     QUAIMME DAVIES
                 ------ ---------------------   x
     Jack B. Weinstein, Senior United States District Judge


                 Defendant's motion to stay his sentence of imprisonment and for release on bond

     pending appeal will be heard on January 25, 2018, at 10:30 a.m. in courtroom lOB South.

                 Appointed counsel shall be present in person with the defendant at the hearing.




                                                      SO ORDERED



                                                                    / 1;L
                                                      JA4( B. WEINSTEIN
                                                      SR/UNITED STATES DISTRICT JUDGE


     Dated: 11/28/17




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